                                        UNITED STATES BANKRUPTCY COURT
                                               FOR THE DISTRICT OF ARIZONA

                                                             Minute Entry
Hearing Information:
                         Debtor:   ARLENE & RONALD J SILVER
                  Case Number:     2:17-BK-07624-SHG                   Chapter: 11

          Date / Time / Room:      THURSDAY, MAY 10, 2018 02:30 PM 3RD FLOOR #301

         Bankruptcy Judge:         SCOTT H. GAN
               Courtroom Clerk:    TERESA MATTINGLY
                Reporter / ECR:    MARGARET KELLY                                                                                      0.00


Matter:
              STATUS HEARING ON DISCLOSURE STATEMENT (AND CHAPTER 11 PLAN).
              R / M #:   70 / 0


Appearances:
        KYLE A. KINNEY, ATTORNEY FOR ARLENE SILVER, RONALD J SILVER


Proceedings:                                                                                                                   1.00

        Mr. Kinney explains that the delay in filing is because he is waiting for information from the CPA regarding liquidating the
        Glendale property. Also, a motion has been filed to sell the Scottsdale condo.

        The Court would like counsel to file a Plan and Disclosure Statement that can be flexible to allow these things to be done post
        confirmation. If any objections are filed they will be dealt with.

        COURT: IT IS ORDERED THAT MR. KINNEY IS TO FILE THE DISCLOSURE STATEMENT IN THE NEXT
        THIRTY DAYS AND THEN NOTICE A HEARING ON APPROVAL OF THE DISCLOSURE STATEMENT OR THE
        CASE MAY BE DISMISSED OR CONVERTED.

        The Court reminds Mr. Kinney to address the A.C. Williams factors.

        The hearing is adjourned.

        C=> MEB




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